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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF RHODE ISLAND


 U.S. BANK N.A AS TRUSTEE
 FOR THE REGISTERED HOLDERS
 OF THE STRUCTURED ASSET
 SECURITIES CORPORATION, STRUCTURED
 ASSET INVESTMENT LOAN TRUST
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2003-BC11




                        VS                            CA: 17-CV-394 WES


 MASOUND SHAKOORI ET AL


 MOTION IN LIMINE AND MOTION FOR DEFAULT JUDGMENT AND SANCTIONS
 PURSUANT TO FRCP 37
        Defendant by his attorney files this Motion in Limine and for Sanctions pursuant to Fed.

 R. Civ. Pro. 37. Plaintiff has proposed certain Trial Exhibits, which it seeks to introduce into

 evidence. These Exhibits are referenced in the attached Exhibit List provided by Plaintiff. The

 Exhibits, which are the scope of this Motion are as follow:

 July 16, 2003 $315,400 Adjustable Rate Note with Option One Mortgage Corporation (“Option
 One”) Exhibit C.

 October 1, 2003 Assignment and Assumption Agreement between Lehman Brothers Bank, FSB
 and Lehman Brothers Holdings, Inc., Exhibit G.

 October 1, 2003 Mortgage Loan Sale and Assignment Agreement, Exhibit H.

 October 1, 2003 Trust Agreement, Exhibit I.

 October 1 2003 Servicing Agreement, Exhibit J.
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 October 1, 2003 Mortgage Loan Schedule, Exhibit K.

 April 30, 2008 American Home Mortgage Servicing, Inc. (“AHMSI”) Purchase Agreement,
 Exhibit L.

 June 30, 2009 Notices of Resignation and Appointment of Trustee, Exhibit M.

 Loan Payment History, Exhibit R.

 December 15, 2008 Assignment of Mortgage, Exhibit EE.

 July 15, 2011 Assignment of Mortgage, Exhibit FF

 February 22, 2013 Assignment of Mortgage, Exhibit GG.

 On October 22, 2014, Assignment of Mortgage, Exhibit HH.

 For multiple reasons, these documents should not be admitted into evidence.

 THE PURPORTED ASSIGNMENTS OF MORTGAGE WERE ESTABLISHED AS VOID
 ASSIGNMENTS PURSUANT TO PLAINTIFF’S REFUSAL TO RESPOND TO REQUESTS
 FOR ADMISSIONS



 A review of the discovery propounded Plaintiffs seek to admit into evidence four purported the

 following purported Assignments of mortgage. The first purported assignment of mortgage was

 an assignment dated December 15, 2008 referenced as Exhibit EE. This purported assignment

 bore the name of Linda Green and had a notarization bearing the name of Bailey Kirchner. This

 document purported to assign the mortgage and note from American Home Mortgage Servicing,

 Inc. to LaSalle Bank National Association as Trustee for Structured Asset Securities

 Corporation, Structured Asset Investment Loan Trust Mortgage Pass-Through Certificates,

 Series 2003-BC11.


 The second purported assignment was dated July 15, 2013 as a Confirmatory Assignment from

 Sand Canyon Corporation to LaSalle Bank National Association as Trustee for Structured Asset

 Securities Corporation, Structured Asset Investment Loan Trust Mortgage Pass-Through
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 Certificates, Series 2003-BC11. This document bore the name of Tonya Hopkins, claiming to be

 Assistant Secretary of Sand Canyon Corporation.


 The Third purported assignment was dated February 22, 2013 from LaSalle Bank National

 Association as Trustee for Structured Asset Securities Corporation, Structured Asset Investment

 Loan Trust Mortgage Pass-Through Certificates, Series 2003-BC11 to US Bank, National

 Association as Trustee for Structured Asset Investment Loan Trust Mortgage Pass-Through

 Certificates,. Series 2003-BC11. This bore the name of Pamela Stoddard claiming to be an

 Assistant Secretary of American Home Mortgage Servicing, Inc.


 The fourth purported assignment of mortgage was dated October 22, 2014 from US Bank,

 National Association as Trustee for Structured Asset Investment Loan Trust Mortgage Pass-

 Through Certificates,. Series 2003-BC11 to US Bank, N.A. as Trustee for the Registered

 Holders of Structured Asset Investment Loan Trust Mortgage Pass-Through Certificates,. Series

 2003-BC11. This document bore the name of Brandy Perns as an Authorized Signer of Ocwen

 Loan Servicing, LLC as attorney in fact for U.S. Bank


        These four documents cannot be considered by the Court and should not be admitted into

 evidence because of the failure to respond to Requests for Admissions. Due to the failure to

 respond to these within thirty days, the following statements were deemed admitted by Plaintiff’s

 refusal to respond to these Requests For Admissions in a timely manner. These Requests for

 Admissions were transmitted to Plaintiff’s previous counsel on May 19, 2018 and were not

 responded to within thirty days. Thus all these statements in the Request for Admissions are

 deemed admitted for purposes of this litigation:


 1. On December 15, 2008 , Option One was not owed any
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 indebtedness under the Defendant’s note.
 2. On December 15, 2008 Option did not own Defendant’s note.
 3. On December 15, 2008 Option One did not own Defendant’s
 mortgage.
 4. On December 15, 2008, La Salle Bank National Association as
 Trustee for Structured Asset Securities Corporation Structured Asset
 Investment Loan Trust Mortgage Pass-Through Certificates, Series
 2003-BC11(“LaSalle as Trustee” did not purchase Defendant’s
 Mortgage from any entity.
 5. On December 15, 2008, La Salle Bank as Trustee did not purchase Defendant’s note from any
 entity.
 6. La Salle as Trustee did not provide any consideration to any entity on December 15, 2008.
 7. No entity with the name of Structured Asset Securities Corporation Structured Asset
 Investment Loan Trust Mortgage Pass-Through Certificates, Series 2003-BC11 has ever existed.
 8. La Salle Bank, National Association was never the trustee for Structured Asset Securities
 Corporation Structured Asset Investment Loan Trust Mortgage Pass-Through Certificates, Series
 2003-BC11.
 9. The purported assignment referenced as Exhibit 5 to the complaint was not signed by Linda
 Green.
 10. The purported witness to the purported assignment referenced as
 Exhibit 5 to the complaint was not signed by Tywanna Thomas.
 11. The purported notarization to the purported assignment referenced as Exhibit 5 to the
 complaint was not signed by Bailey Kirchner.
 12. Exhibit A is a genuine and authentic copy of a complaint filed by
 AHMSI against DocX, LLC and Lender
 13. Lender Processing Services, Inc. (“LPS”) was the parent company of DocX, LLC.
 14. Linda Green was never an officer of AHMSI.
 15. Exhibit B is a genuine and authentic copy of a Consent Order of
 the Board of Governors of the Federal Reserve System, the Federal
 Deposit Insurance Corporation, the Office of Comptroller of the Currency,
 the Office of Thrift Supervision, Lender Processing Services, Inc.,
 DocX, LLC and LPS Default Solutions, Inc., dated April 13, 2011.
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 16. Option One did not own Plaintiff’s mortgage on July 15, 2011.
 17. On March 18, 2009, an affidavit was filed in the United States
 Bankruptcy Court for the Eastern District of Louisiana in case number 07-
 11862.
 18. Exhibit C is a genuine and authentic of the affidavit referenced in
 Request for Admission 17.
 18. The original of Exhibit C was signed by Dale Sugimoto.
 19. Dale Sugimoto on March 18, 2009 was the President of Sand Canyon.
 20. On March 18, 2009 Sand Canyon did not own any residential real estate
 mortgages.
 21. On July 15, 2011 Option One did not own any residential real estate
 mortgages.
 22. On December 15, 2008 Option One did not own any residential real
 estate mortgages.
 23. On July 15, 2011, Sand Canyon did not own any residential real estate
 mortgages.
 24. On December 15, 2008 Sand Canyon did not own Defendant’s
 mortgage.
 25. On December 15, 2008 Sand Canyon did not own Defendant’s note.
 26. La Salle Bank as Trustee did not provide any consideration to Sand
 Canyon for Defendant’s note on July 15, 2011.
 27. La Salle Bank as Trustee did not provide any consideration to Sand Canyon for Defendant’s
 mortgage on July 15, 2011.
 28. La Salle Bank as Trustee never purchased Defendant’s mortgage from
 Sand Canyon at any time.
 29. La Salle Bank as Trustee never purchased Defendant’s note from Sand
 Canyon at any time.
 30. La Salle Bank as Trustee did not provide any consideration for
 Defendant’s mortgage to Sand Canyon on July 15, 2011.
 31. Exhibit 6 to the complaint was not signed by an officer of Sand
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 Canyon.
 32. Tonya Hopkins was not an officer of Sand Canyon on July 15, 2011.
 33. Tonya Hopkins was an employee of AHMSI on July 15, 2011.
 34. Tonya Hopkins did not sign the purported assignment dated July 15,
 2011.
 35. La Salle Bank National Association did not exist as an entity on
 February 22, 2013.
 36. La Salle Bank National Association merged with Bank of America,
 N.A. on October 17, 2008.
 37. On February 22, 2013, La Salle Bank National Association no longer
 existed as an entity.
 38. On February 22, 2013 La Salle Bank as Trustee did not own
 Defendant’s mortgage.
 39. La Salle Bank as Trustee never granted a power of attorney to
 Homeward Residential, Inc., authorizing it to sign an assignment of mortgage
 from La Salle Bank as Trustee to U.S. Bank National Association as Trustee
 for Structured Asset Investment Loan Trust, Mortgage Pass-Through
 Certificates, Series 2003-BC11 on February 22, 2013.
 40. U.S. Bank National Association was never a Trustee for an entity
 named Structured Asset Investment Loan Trust, Mortgage Pass-Through
 Certificates, Series 2003-BC11.
 41. There is no such entity named Structured Asset Investment Loan Trust,
 Mortgage Pass-Through Certificates, Series 2003-BC1.
 42. Pamela Stoddard was not an officer of Homeward Residential on
 February 22, 2013.
 43. Pamela Stoddard was never an officer of Homeward Residential on
 February 22, 2013.
 44. Pamela Stoddard was an employee of Security Connections, Inc. on
 February 22, 2013.
 45. Pamela Stoddard did not sign the purported assignment dated February
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 22, 2013.
        These Admissions establish that the first two purported assignments were void because

 Sand Canyon Corporation, f/k/a Option One Mortgage Corporation, based on the affidavit of

 Dale Sugimoto, the President of Sand Canyon, Option One did not own Plaintiff’s note or

 mortgage on December 15, 2008 or July 15, 2011 or at any time thereafter. Thus any assignment

 was void because Option One/Sand Canyon owned nothing to assign, including Defendant’s

 mortgage or note on those dates and thereafter. The Admissions also establish that the persons

 whose names are affixed to the third and fourth purported assignments did not in fact sign these

 documents. In addition, these admissions establish that the named Plaintiff does not and has

 never existed.

        More troubling is the attempt by PHH Mortgage Corporation the loan servicer in this case

 to introduce into evidence fraudulent documents not signed by the named signers. Particularly

 troublesome is the attempt to have a “Linda Green” assignment introduced into evidence. The

 name Linda Green is the name of a person, whose name was affixed to assignments of mortgage

 by a company known as DOCX, LLC. This company was a subsidiary of Lender Processing

 Servicers, Inc. LLC, both of which entered into a Consent Order with thethe Board of Governors

 of the Federal Reserve System, the Federal Deposit Insurance Corporation, the Office of

 Comptroller of the Currency, the Office of Thrift Supervision dated April 13, 2011. In this

 Consent Order these companies agreed not to create or file false assignments and acknowledged

 such deceptive practices. In addition, Ocwen Financial Corporation on December 19, 2013

 entered into a Consent Order with the Consumer Financial Protection Bureau in which it

 acknowledged certain deceptive practices and agreed:
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 Servicer shall ensure that mortgage assignments executed by or on behalf of Servicer are

 executed with appropriate legal authority, accurately reflective of the completed transaction and

 properly acknowledged

 This Consent Order was entered into by the Rhode Island Attorney General. Ocwen/PHH

 Mortgage Corporation, its subsidiary, knows that the DOCX, LLC assignment was fraudulent,

 yet through LPS Default Solutions, Inc. prepared a similarly false “Confirmatory Assignment”. It

 also knows that after 2008 Option One/Sand Canyon did not own Defendant’s mortgage or note,

 yet created more fraudulent documents in an attempt to have this Court affirm the legitimacy of

 false document.

         Lorraine Brown, the President of DOCX. LLC and the company, was charged by the

 United States of America in the United State District Court for the Middle District of Florida.

 She was sentenced to Federal prison and the company forfeited its assets. The Information and

 the Plea Agreement is attached to this memorandum. Ocwen Financial Corporation cannot

 suggest that it is not aware of the extent of this fraud due to its admission in the CFPB Consent

 Order. The complaint alleged:


     o   Robo-signing foreclosure documents, including preparing, executing, notarizing, and
         filing affidavits in foreclosure proceedings with courts and government agencies without
         verifying the information.



  The Lawsuit against LPS and DOCX indicate the extent of the fraud. The Plaintiff admitted that

 this complaint was an authentic copy of that complaint. In that complaint American Home

 Mortgage Servicing, Inc. alleged that LPS and DOCX engaged in surrogate signing of

 assignments of mortgages, the same practice PHH asks this Court to approve.
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        Plaintiff, in this case made the following false allegation vouching for the validity of the

 Linda Green assignment:



 On December 15, 2008, AHMSI, purporting to be the successor-in-interest to Option One
 Mortgage Corporation, executed an assignment of the Mortgage to LaSalle Bank National
 Association, as Trustee for Structured Asset Securities Corporation Structured Asset Investment
 Loan Trust Mortgage Pass-Through Certificates, Series 2003-BC11, which assignment was
 recorded with the LER on December 26, 2008, in Book 348, Page 43. A certified copy of said
 Assignment is attached hereto as Exhibit 13.

 It also made a similar false allegation vouching for the validity of the Tonya

 Hopkins assignment:


 35. On July 15, 2011, Sand Canyon Corporation f/k/a Option One Mortgage Corporation
 executed a Corrective Assignment of the Mortgage in favor of LaSalle Bank National
 Association, as Trustee for Structured Asset Securities Corporation Structured Asset Investment
 Loan Trust Mortgage Pass-Through Certificates, Series 2003-BC11, which assignment was
 recorded with the LER on July 29, 2011 in Book 401, Page 210. A certified copy of said
 Assignment is attached hereto as Exhibit 14.

 It is aware that Option One owned nothing to assign on this date. Despite this actual knowledge

 of the defects in these two documents, it further alleges::



 77. Alternatively, in the event that the Court should find that one or more of the assignments of
 Mortgage are invalid, then U.S. Bank, as the holder of the Note, seeks an equitable assignment of
 the Mortgage (1) as of October 1, 2003, when the Note and Mortgage were securitized as part of
 the Structured Asset Securities Corporation, Structured Asset Investment Loan Trust, Mortgage
 Pass-Through Certificates, Series 2003-BC11, for which U.S. Bank currently serves as the
 Trustee, or, (2) as of December 15, 2008, when AHMSI, purporting to be the successor-in-
 interest to Option One Mortgage Corporation when in fact it was the
 Loan Servicer, executed an assignment of the Mortgage to LaSalle Bank National Association,
 as Trustee for Structured Asset Securities Corporation Structured Asset Investment Loan Trust
 Mortgage Pass-Through Certificates, Series 2003-BC11, or (3) as of February 22, 2013, LaSalle
 Bank, N.A., as Trustee for Structured Asset Securities Corporation Structured Asset Investment
 Loan Trust, Mortgage Pass-Through Certificates, Series 2003-BC11, by Homeward Residential,
 Inc. f/k/a American Home Mortgage Servicing, Inc., its attorney-in-fact, assigned the Mortgage
 to U.S. Bank National Association, as Trustee for Structured Asset Investment Loan Trust,
 Mortgage Pass-Through Certificates, Series 2003-BC11.
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  The proposed findings of fact contain the following purported findings of fact which Plaintiff

  knows are not accurate and are predicated on these false and void assignments



  29. On December 15, 2008, AHMSI, claiming to be the successor-in-interest to Option One,
  attempted to assign the Mortgage to LaSalle Bank, N.A., as Trustee, by assignment recorded in
  the Exeter Land Evidence Records. (12/15/2008 Assignment, Exhibit EE.)

  30. On July 15, 2011, Sand Canyon Corporation f/k/a Option One Mortgage Corporation
  attempted to assign the Mortgage to LaSalle Bank, N.A., as Trustee, by corrective assignment
  recorded in the Exeter Land Evidence Records. (07/15/2011 Assignment, Exhibit FF.)

   31. On February 22, 2013, LaSalle Bank, N.A., as Trustee, by Homeward Residential f/k/a
  AHMSI, its attorney in fact, attempted to assign the Mortgage to U.S. Bank, N.A., as Trustee by
  assignment recorded in the Exeter Land Evidence Records. (02/22/2013 Assignment, Exhibit
  GG.)

  32. On October 22, 2014, U.S. Bank, N.A., as Trustee attempted to assign the Mortgage to itself
  by assignment recorded in the Exeter Land Evidence Records (10/22/2014 Assignment, Exhibit
  HH.)
   The Plaintiff knew when it filed this case that there was a problem with the assignments. This

  case was not filed by current counsel who had nothing to do with the false allegations in this

  complaint and amended complaint.

         Another issue on which Plaintiff is precluded are the following admissions, which

  establish that this Plaintiff does not exist at all and that LaSalle Bank was never the trustee for

  the purported trust:

  4. On December 15, 2008, La Salle Bank National Association as
  Trustee for Structured Asset Securities Corporation Structured Asset
  Investment Loan Trust Mortgage Pass-Through Certificates, Series
  2003-BC11(“LaSalle as Trustee” did not purchase Defendant’s
  Mortgage from any entity.
  5. On December 15, 2008, La Salle Bank as Trustee did not purchase Defendant’s note
  from any entity.
  6. La Salle as Trustee did not provide any consideration to any entity on December 15,
  2008.
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  7. No entity with the name of Structured Asset Securities Corporation Structured Asset
  Investment Loan Trust Mortgage Pass-Through Certificates, Series 2003-BC11 has ever
  existed.
  8. La Salle Bank, National Association was never the trustee for Structured Asset Securities
  Corporation Structured Asset Investment Loan Trust Mortgage Pass-Through
  Certificates, Series 2003-BC11.

  35. La Salle Bank National Association did not exist as an entity on
  February 22, 2013.
  36. La Salle Bank National Association merged with Bank of America,
  N.A. on October 17, 2008.
  37. On February 22, 2013, La Salle Bank National Association no longer
  existed as an entity.
  38. On February 22, 2013 La Salle Bank as Trustee did not own
  Defendant’s mortgage.
  39. La Salle Bank as Trustee never granted a power of attorney to
  Homeward Residential, Inc., authorizing it to sign an assignment of mortgage
  from La Salle Bank as Trustee to U.S. Bank National Association as Trustee
  for Structured Asset Investment Loan Trust, Mortgage Pass-Through
  Certificates, Series 2003-BC11 on February 22, 2013.
  40. U.S. Bank National Association was never a Trustee for an entity
  named Structured Asset Investment Loan Trust, Mortgage Pass-Through
  Certificates, Series 2003-BC11.
  41. There is no such entity named Structured Asset Investment Loan Trust,
  Mortgage Pass-Through Certificates, Series 2003-BC1.
         These admissions establish that the Plaintiff does not exist under this name and that the

  assignments of mortgage were all void. The responses to the Requests for Admissions make it

  clear that there is no such entity as the Plaintiff trust and that the four purported assignments of

  mortgage are all void under Rhode Island and Federal precedent. A void assignment is an

  assignment which cannot convey the mortgage because the grantor owns nothing to assign.
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  Based on the admissions pursuant to Fed R Civ. Pro 36, and the affidavit of Dale Sugimoto, the

  President of Sand Canyon, Inc, fka Option One Mortgage Corporation, after April 2008 Option

  One Mortgage Corporation/Sand Canyon owned no mortgages and notes to assign.

  In Mruk v. Mortgage Electronic Registration Systems, Inc. 82 A.3d 527 (2013)the Rhode Island

  Supreme Court held that a mortgagor could challenge a void assignment and defined “void” by

  referencing the Federal Court’s seminal cases on void assignments in a foot note:

          More recently, the United States District Court of the District of Rhode Island relied on
  the First Circuit's reasoning in the Culhane decision and concluded that Rhode Island law also
  provided the same protections to mortgagors and held that mortgagors have standing to challenge
  "`invalid, ineffective, or void' assignments, such as situations where `the assignor had nothing
  to assign or had no authority to make an assignment to a particular assignee.'" Cosajay v.
  Mortgage Electronic Registration Systems, Inc., ___ F.Supp.2d ___, ___, 2013 WL 5912569, at
  *4 (D.R.I. 2013) (quoting Culhane v. Aurora Loan Services of Nebraska, 708 F.3d 282, 291 (1st
  Cir.2013)).

  The purported assignments were all void since Option One Mortgage Corporation did not

  transfer anything to the Plaintiff by assignment or otherwise. Any subsequent assignments were

  also void, since the original was void. The Plaintiff should not be allowed to sit back, not

  respond to discovery and then seek to have findings of facts determined on false documents. The

  failure to respond to the Request for Admissions is fatal to the Plaintiff’s case. In Far Mann v

  M/V Rozita 903 F.2d 871 (First Cir., 1990), this Court recognized that Rule 36’s deemed

  admissions could be removed if a party filed a motion and met the two pronged test of the

  facilitation of truth and lack of prejudice. In Farr Man, the Court found that the two prong test

  had been met:

  As to the first part of Rule 36(b)'s test, we find that permitting the withdrawal of M/V ROZITA's
  admissions would "facilitate the development of the case in reaching the truth," 4A J.
  Moore, supra, ¶ 36-08 at 36-79, because, as the district court noted, the most current stipulation
  of facts sets the damages suffered by plaintiffs at $29,268.63, rather than the amount admitted to
  of $285,268.63. Thus, we conclude, the first prong of Rule 36(b) is satisfied. The second hurdle
  is similarly easily surmounted.
  Farr Man at p. 874
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  In this case, the Plaintiff has not sought to remove the admissions, which would be prejudicial at

  the eve of trial. Thus this issue is not even before the Court since the Plaintiff has not requested a

  withdrawal of the admission pursuant to the Rule.

         In addition to the deemed admissions, Plaintiff should not be allowed to present these

  documents because it after three years finally responded to Interrogatories with objections as to

  each interrogatory, some of which were clearly relevant to Defendant’s defense that the

  assignments were void. For example Plaintiff was propounded interrogatories. In addition to not

  responding within thirty days to the Requests for Admissions, Plaintiff did not respond to the

  interrogatories propounded by Defendant for more than three years and objecting to each

  interrogatory. This cavalier attitude to discovery warrants the granting of this motion in limine

  which Plaintiff seeks to propound should be stricken and the Motion denied. Here are Plaintiff’s

  answers, three years after being propounded:

  1. Plaintiff objects to Defendant’s Instructions, Definitions, and Interrogatories to the extent they

  purport to impose obligations on Plaintiff beyond those required under the Federal Rules of

  Civil Procedure, the local rules of the District of Rhode Island, the Court’s orders, or any other

  applicable body of law.

  2. Plaintiff objects to Defendant’s Instructions, Definitions, and Interrogatories to the extent they

  call for information that is protected from disclosure by the attorney-client privilege, work

  product doctrine, insurer-insured privilege, or any other applicable privilege or protection.

  Defendants do not intend to waive any claim of privilege or protection by providing material or

  information pursuant to the Interrogatories. In the event that Plaintiff inadvertently discloses any

  privileged or protected material or information, it is not intended, and shall not be deemed, to be

  a waiver by Plaintiff of any applicable privilege or protection.
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  3. . Plaintiff objects to Defendant’s Instructions, Definitions, and Interrogatories to the extent

  that they seek confidential or proprietary business information.

  4. Plaintiff objects to each of Defendant’s Interrogatories that seek “all” documents or

  information. In the course of discovery, Plaintiff has made a good-faith search for responsive and

  relevant documents and information within their possession, custody, or control in those places

  where such documents and information are reasonably likely to be found. That search is ongoing,

  and Defendants will supplement its answers if necessary in accordance with the Federal Rules of

  Civil Procedure.

  5. All responses below are subject to the foregoing general objections, and the foregoing general

  objections are not waived. 6. Plaintiff reserves the right to supplement these responses and

  objections based on additional information acquired during the course of discovery.

  U.S. BANK, AS TRUSTEE’S RESPONSES

  1. Please identify and state the name, business address, employer, current employment status

  and business telephone number of each person who answered these interrogatories and each

  person who assisted on the content of any answer to these interrogatories, and indicate their

  personal knowledge regarding each interrogatory to which they provided the answer.

  ANSWER Name: Howard Handville Business Address: 1661 Worthington Road, Suite 100,

  West Palm Beach, FL 33409. Employer: Ocwen Financial Corporation. Occupation/Job Duties:

  Senior Loan Analyst. I am answering these interrogatories as a Senior Loan Analyst employed

  by Ocwen Financial Corporation, whose wholly owned subsidiary is PHH Mortgage

  Corporation, successor by merger to Ocwen Loan Servicing, LLC, the loan servicer and

  attorney-in-fact for U.S. Bank as Trustee.
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  DEFICIENT NATURE OF INTERROGATORY

  No identification of persons whom the “professional witness” consulted with to provide answers.

  2. Please identify all representatives, agents or employees of the Plaintiff with knowledge of the

  facts necessary to respond to each of the interrogatories contained herein and/or who assisted in

  the answering of these interrogatories. ANSWER No representative of U.S. Bank as Trustee has

  personal knowledge of facts necessary to respond to these interrogatories.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The Defendant inquired

  not only of US Bank but of all representatives, agents or employees of the Plaintiff who had

  knowledge of this interrogatory.

  3. Please state whether you claim to have ever possessed a legal interest, a beneficial interest, or

  no interest in the Note or Mortgage and identify all documents and clauses therein which gives

  you said interest.

  ANSWER U.S. Bank, as Trustee is the current holder of an Adjustable Rate Note that Defendant

  initialed and executed on July 16, 2003, which promised to repay a $315,400 loan with interest

  received from Option One Mortgage Corporation (“Option One”), which referenced property

  located at 1541 Ten Rod Road, Exeter, RI 02822-1910, and which Option One endorsed in blank

  by allonge. U.S. Bank, as Trustee is also the current holder of a July 16, 2003 Mortgage that the

  Defendant agreed to and executed in favor of Option One, which mortgage was recorded in the

  Land Evidence Records for the Town of Exeter at Book 0212, Page 1, and which was assigned to
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  U.S. Bank, N.A., as Trustee by Assignment of Mortgage dated October 22, 2014 and recorded in

  the Land Evidence Records for the Town of Exeter at Book 464, Page 249.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the complaint and the attempt of

  the Plaintiff to prove ownership of the mortgage by securitization. However in its discovery it

  refused to answer the question. This interrogatory is inconsistent with the findings of fact

  proposed by the Plaintiff.

  4. Please state the name and contact information of the person(s) or entity(ies) (“assignor”) from

  whom you obtained the Note or Mortgage along with consideration paid and identify any and all

  documents and clauses therein which gave legal effect to the transfer of the Note to you or the

  assignment of mortgage to you.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on the grounds that Defendant’s

  request for the consideration paid to obtain the Note and Mortgage is irrelevant to any party’s

  claim or defense in this action. Without waiving the forgoing objection, and in accordance with

  Fed. R. Civ. P. 33(d), U.S. Bank, as Trustee refers Defendant to the Note and Assignments of

  Mortgage attached as exhibits to the Complaint and the Amended Complaint filed in this action.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  GRANTING THIS MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the proposed findings of fact in
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  this case and makes no reference to the securitization transactions alleged by the Plaintiff. In fact

  it referenced the fraudulent and void assignments as the manner in which it claims title to the

  mortgage and note were transferred.

  5. Please identify all documents which reference a sale of the Note or the Mortgage from the

  origination of the note to the present.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on grounds that the information

  sought is irrelevant to any party’s claim or defense in this action. Without waving the forgoing

  objection, and in accordance with Fed. R. Civ. P. 33(d), U.S. Bank, as Trustee refers Defendant

  to the allonge to the Note and the Assignments of Mortgage attached as exhibits to the to the

  Complaint and Amended Complaint filed in this action.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  GRANTING THIS MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the proposed findings of fact in

  this case and makes no reference to the securitization transactions alleged by the Plaintiff. It

  again vouches for the fraudulent and void assignments.

  6. Please state name and contact information of all parties or entities who have provided

  servicing or subservicing of the Note or Mortgage and the dates each servicing or subservicing

  arrangements and identify all documents and clauses therein which describe the authorization for

  and the servicing or subservicing of the Note.

  ANSWER U.S. Bank, N.A., as Trustee objects to this Interrogatory on the grounds that it seeks

  information that is irrelevant to any claims or defenses in this matter. Without waiving the
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  forgoing objection, PHH Mortgage Corporation, successor by merger to Ocwen Loan Servicing,

  LLC, has serviced the loan and operated as and attorney-in-fact for U.S. Bank as Trustee at all

  times since December 27, 2012. Prior to December 27, 2012, Homeward Residential, f/k/a

  American Home Mortgage Servicing, Inc. serviced the loan. Prior to October 1, 2003, Option

  One serviced Defendant’s mortgage loan.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the proposed findings of fact in

  this case and makes no reference to the securitization transactions alleged by the Plaintiff. The

  Plaintiff now seeks to introduce the purported servicing documents. It now seeks to introduce

  evidence at the last minute regarding securitization despite its refusal to answer any questions

  about the securitization.

  7. Please state the factual basis upon which you base any allegations in your complaint.

  ANSWER U.S. Bank, N.A., as Trustee objects to this Interrogatory as overly broad and unduly

  burdensome. Without waiving the forgoing objection, U.S. Bank, N.A., as Trustee refers the

  Defendant to each of the exhibits appended to the Complaint and the Amended Complaint for all

  facts in support of U.S. Bank, as Trustee’s allegations and claims.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. Plaintiff refused to answer this question and waived any
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  objections by not responding to the interrogatories for three years. It should be precluded from

  presenting any evidence about securitization due to the fact that no reference to any

  securitization documents were made.

  8. Identify each person you contend has knowledge regarding any of the facts based upon which

  you base your complaint, including their contact information and a short summary of what

  knowledge they possess that is relevant to this Action. ANSWER No representative of U.S.

  Bank, as Trustee has personal knowledge regarding any of the facts in the Complaint and the

  Amended Complaint.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The Defendant inquired

  not only of US Bank but of all representatives, agents or employees of the Plaintiff who had

  knowledge of this interrogatory. This deliberate refusal to provide information should preclude

  any evidence from other persons to be presented.

  9. If your response to any Request for Admission submitted by the Defendant is anything other

  than an unqualified admission, identify the complete factual basis for your response.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory as overly broad and unduly

  burdensome on the grounds that there were several Requests for Admission that were not

  answered with an unqualified admission. Without waving the forgoing objection, the factual

  basis for any response to discovery is contained within the Complaint, the Amended Complaint

  U.S. Bank, N.A. as Trustee filed in this action and all exhibits attached to both of these filings.
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  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. This answer warrants

  the sanction of dismissal with prejudice of the complaint

  10. Has Defendant’s loan been securitized? If so, please state the name and address and file

  number of the securitized trust along with date of securitization and the consideration paid along

  with name, address and phone number of the Master Servicer and trustee for said Trust.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on grounds that the information

  sought is irrelevant to any of the claims made in this case. Without waving the foregoing

  objection, please see the Pooling and Servicing Agreement produced in accordance with Fed. R.

  Civ. P. 33(d) and attached as Exhibit A.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The Plaintiff presents

  purported evidence of securitization but refused to provide any answers to questions regarding

  the sale and securitization of this loan. There are multiple parties to the purported chain of title to

  any loans in this trust, which are in order:

  Option One Mortgage Corporation

  Lehman Brothers Bank
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  Lehman Brothers Holding Corporation

  Structured Assets Securities Corporation

  The purported trust, which the failure to respond to the Request for Admissions has established

  does not exist under that name. This failure to answer should preclude the Plaintiff from

  proceeding on this complaint and should result in dismissal of the case pursuant to FRCP 37 as a

  sanction.

  11. Please identify and describe each custodian for the Defendant’s Note or Mortgage from

  origination to the present and the location of the Defendant’s note from origination to the

  present.

  ANSWER U.S. Bank, N.A., as Trustee objects to this Interrogatory on grounds that the

  information sought is irrelevant to any of the claims made in this case. Without waving the

  foregoing objection, please see the Pooling and Servicing Agreement produced in accordance

  with Fed. R. Civ. P. 33(d) and attached as Exhibit A

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The custodian and

  custodial agreement would establish the ownership of this mortgage loan and the actual travel of

  the note. Once again the Defendant was not provided anything other than an internet copy of an

  unauthenticated Pooling and Servicing Agreement without any reference to the custodians of the

  note. This should result in the sanction of preclusion of evidence and outright dismissal with

  prejudice of this case.
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  12. Please identify and describe any custodial agreement between the owner of Defendant’s note

  and mortgage any custodian of the Defendant’s note and mortgage from origination to the

  present, specifying the location of the Defendant’s note from origination to the present.

  ANSWER U.S. Bank, N.A., as Trustee objects to this Interrogatory on grounds that the

  information sought is irrelevant to any of the claims made in this case. Without waving the

  foregoing objection, please see the Pooling and Servicing Agreement produced in accordance

  with Fed. R. Civ. P. 33(d) and attached as Exhibit A.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The custodian and

  custodial agreement would establish the ownership of this mortgage loan and the actual travel.

  Once again the Defendant was not provided anything other than an internet copy of an

  unauthenticated Pooling and Servicing Agreement without any reference to the custodians of the

  note. This should result in the sanction of preclusion of evidence and outright dismissal with

  prejudice of this case.

  13. Please identify and describe all documents in the collateral file for the Defendant’s loan

  identifying the document along with the date each document was placed in the collateral file.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on grounds that the request seeks

  information that is irrelevant to any claims made in this case. Without waving the forgoing

  objection, U.S. Bank, as Trustee has made the collateral file available to Defendant’s counsel for
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  review and copy at a mutually agreeable time and provided a scanned copy of the original

  promissory note to Defendant’s counsel by e-mail on May 11, 2021.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The Defendant is

  entitled to have identified all documents in the collateral file, not just the note. The collateral file

  has an index of all documents placed into the file. Since there is a purported allonge which was

  not affixed to the note, the date said allonge was placed in the collateral file should have been

  provided. Once again the Defendant was not provided identification of any documents. This

  should result in the sanction of preclusion of evidence and outright dismissal with prejudice of

  this case.

  14. Please state each date that the note signed by the Defendant was indorsed by any person or

  persons along with the name, employer, job title, home and business address and telephone

  number of each indorser.

  ANSWER U.S. Bank, as Trustee objects to Interrogatory on grounds that the request seeks

  information that is irrelevant to any claims made in this case. Without waving the forgoing

  objection, U.S. Bank, as Trustee refers Defendant to the Note produced in accordance with Fed.

  R. Civ. P. 33(d).

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

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  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. The indorsement of the

  note is at issue since the note was signed by the Defendant on July 16, 2003 with the

  endorsement dated with the purported allonge dated the same day. However this closing even

  though it occurred on July 16, 2003 was a refinance and was not recorded until July 21, 2023.

  The Truth In Lending Act allowed a three business day right of recission where the loan could

  not fund until the three days had passed. Thus the allonge could not possibly have been effective

  on July 21, 2003. This was crucial to the defenses of Defendant but has not been provided. The

  sanction for this refusal should be dismissal of this

  15. Identify each person whom you expect to call as an expert witness at trial. With respect to

  each such expert, state the subject matter upon which the expert is expected to testify, the

  substance of the facts and opinions to which the expert is expected to testify, and a summary of

  the grounds for each such opinion.

  ANSWER U.S. Bank, as Trustee objects to this request as it seeks premature disclosure of expert

  opinion in violation of Fed. R. Civ. P. 26. Without waiving the aforementioned objection, U.S.

  Bank as Trustee has not decided which, if any, expert witnesses may be called at trial; insofar as

  this request seeks to ascertain the identity, writings and opinions of U.S. Bank as Trustee’s

  experts who have been retained or utilized to date solely as an advisor or consultant, the request

  impermissibly seeks documents or information protected by the work product privilege.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE
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  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. No privilege log has

  been provided and as a result of this failure to respond to the interrogatory, no documents should

  be admitted and the sanction of dismissal should be granted.

  16. Please identify any documents upon which you base any defenses to the Defendant’s

  affirmative defenses.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory as overly broad and unduly

  burdensome. Without waiving the aforementioned objection, U.S. Bank, N.A. as Trustee relies

  upon all of the documents included as exhibits to the complaint filed in this matter.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This is not an answer to the interrogatory. This stonewalling of

  discovery should be sanctioned by dismissal of this case.

  17. Please indicate the owner of the mortgage note on December 15, 2008, July 15, 2011,

  February 22, 2013 and October 22, 2014 and identify all documents on which you base this

  answer.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on the grounds that it seeks

  information that is irrelevant to any party’s claim or defense in this action. Without waiving the

  aforementioned objection, U.S. Bank, N.A., as Trustee has possessed the Note at all times during

  which U.S. Bank, N.A., as Trustee has owned the loan and sought to enforce the terms of the

  agreement following Defendant’s default.
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  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the complaint and the attempt of

  the Plaintiff to prove ownership of the mortgage by securitization. However in its discovery it

  refused to answer the question. This interrogatory is inconsistent with the findings of fact

  proposed by the Plaintiff. This loan has been purportedly sold at least four times. The refusal to

  provide this information should preclude the Plaintiff from presenting any evidence regarding

  assignments of mortgage or any evidence which should have been provided.

  18. Please identify any power of attorney granted by LaSalle Bank, N.A. to Homeward

  Residential, Inc. to sign the purported Assignment of Mortgage dated February 22, 2013.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on the grounds that it seeks

  information that is not relevant to any party’s claim or defense in this action. Without waiving

  the aforementioned objection, U.S. Bank, as Trustee is attempting to locate the power of attorney

  and will provide once located.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the complaint and the attempt of

  the Plaintiff to prove ownership of the mortgage by securitization. However in its discovery it

  refused to answer the question. In fact LaSalle Bank did not exist in 2013 and the purported
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  assignment referencing a power of attorney from LaSalle Bank to Homeward Residential in 2013

  did not exist. This failure to provide the information should be sanctioned by dismissal.

  19. Please identify any power of attorney granted by US Bank, to Ocwen to sign the purported

  Assignment of Mortgage dated October 22, 2014.

  ANSWER U.S. Bank, as Trustee objects to this Interrogatory on the grounds that it seeks

  information that is not relevant to any party’s claim or defense in this action. Without waiving

  the aforementioned objection produces the POAs in accordance with Fed. R. Civ. P. 33(d)

  attached as Exhibit B.

  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This answer is inconsistent with the complaint and the attempt of

  the Plaintiff to prove ownership of the mortgage by securitization. However in its discovery it

  refused to answer the question. This interrogatory is inconsistent with the findings of fact

  proposed by the Plaintiff.

  20. Please identify each payment made by the Defendant on the mortgage loan account along

  with the amount of each payment and the date it was received by the loan servicer for the

  mortgage loan from origination to the present.

  ANSWER In accordance with Fed. Ri Civ. P. 33(d), attached as Exhibit C please find loan

  payment history.
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  DEFICIENT NATURE OF ANSWER WARRANTING A SANCTION OF DISMISSAL AND

  DENIAL OF MOTION IN LIMINE

  Plaintiff refused to answer this question and waived any objections by not responding to the

  interrogatories for three years. This interrogatory is inconsistent with the findings of fact

  proposed by the Plaintiff. The attached Exhibits A, B and C indicate that PHH cannot verify the

  accuracy of any Ocwen Loan Servicing. These documents indicate that PHH has no means of

  verifying the accuracy of any Ocwen documents, nor did Ocwen have any means of verifying the

  accuracy of any Homeward Residential Documents. Likewise there are no documents by which

  Americana Home Mortgage Servicing, Inc. verified the accuracy of any documents of the prior

  servicer, American Home Mortgage, Inc.. Likewise there are no documents by which American

  Home Mortgage, Inc. verified the accuracy of the records of Option One Mortgage Corporation.




  21. Please identify each payment missed by the Defendant on the mortgage loan account along

  with the amount of each missed payment from origination to the present.

  ANSWER Please see U.S. Bank, as Trustee’s response to Interrogatory No. 20. 22. Please

  identify the exact name of the Trust, which claims to own the Defendant’s mortgage.

  ANSWER U.S. BANK N.A., AS TRUSTEE FOR THE REGISTERED HOLDERS OF THE

  STRUCTURED ASSET SECURITIES CORPORATION, STRUCTURED ASSET

  INVESTMENT LOAN TRUST, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES

  2003-BC11
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  PLAINTIFF REFUSED TO RESPOND TO REQUESTS FOR PRODUCTION AND SHOULD
  BE PRECLUDED FROM ADMITTING DOCUMENTS WHICH IT OBJECTED TO AND
  COULD HAVE PROVIDE PREVIOUSLY WHICH CLEARLY RELATE TO THE ISSUES IN
  THE CASE
  The Plaintiff has refused to provide documents in discovery which it now seeks to present in

  evidence to prove the securitization of the mortgage loan. Plaintiff refused to provide any

  documents regarding the Requests for Production numbers

  REQUEST NO. 5: Produce any power of attorney granted by LaSalle Bank, N.A. to Homeward
  Residential, Inc. to sign the purported Assignment of Mortgage dated February 22, 2013.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to the claims and
  defenses of this case. U.S. Bank, as Trustee is attempting to find the power of attorney granted
  by LaSalle Bank and will provide once obtained.


  Plaintiff refused to provide this document and waived any objections by not responding for three

  years. This response is inconsistent with the complaint and the attempt of the Plaintiff to prove

  ownership of the mortgage by securitization. However in its discovery it refused to provide the

  documents. In fact LaSalle Bank did not exist in 2013 and the purported assignment referencing

  a power of attorney from LaSalle Bank to Homeward Residential in 2013 did not exist. This

  failure to provide the document should be sanctioned by dismissal.

  NO SECURITZATION DOCUMENTS WERE PROVIDED



         The Plaintiff seeks to prove that the loan was included in various sales ands has objected

  and has only produced a copy of a pooling and servicing agreement. By not providing this

  information Plaintiff should be sanctioned by not being allowed to present any evidence

  regarding this securitization. It now seeks to present photocopies of documents which all claim

  to be the travel of the loan, without authentication. However it refused to provide these

  unauthenticated copies of documents prior to the eve of trial. It in fact indicated that these
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  documents were irrelevant to the case, yet seeks to present into evidence the same documents

  that it contended were irrelevant.

         The Plaintiff refused to provide any documents which indicated sales of the note or

  mortgage from origination to the present other than an unauthenticated Pooling and Servicing

  Agreement copy. The Defendant had propounded Requests 7, 8, 11, 13,14, 15, 21, 29, 46, 47

  and 48, all of which requested documents regarding the securitization of the mortgage loan, as

  indicated in this memorandum . Nothing was provided as indicated below.

  REQUEST NO. 7: Any documents indicating that the Defendant’s loan has ever been included
  in a pool of loans belonging to a securitized trust.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claims or
  defenses in this case. Further answering, please see the pooling and servicing agreement attached
  as Exhibit C.

  REQUEST NO. 8: Produce all assignments, transfers, allonge, or other documents
  evidencing a transfer, sale or assignment of this mortgage, deed of trust, monetary instrument or
  other document that secures payment by Defendant to this obligation in this account from the
  inception of this account to the present date.

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad, unduly
  burdensome, and irrelevant to any claim or defense of this case. Further answering, please see
  U.S. Bank, as Trustee’s response to Requests No. 1-4 in addition to the exhibits attached to U.S.
  Bank, as Trustee’s Amended Complaint as Exhibits 26-1, 26-2, 26-24, and 26-25.

  REQUEST NO. 11: Produce all electronic transfers, assignments and sales of the note or asset,
  mortgage, deed of trust or other security instrument. If none, state "none".

  RESPONSE: U.S. Bank, as Trustee objects to this request on grounds of vagueness, ambiguity
  and irrelevancy to the claims and defenses of this case. Further answering, please see U.S. Bank,
  as Trustee’s response to Request No. 8.

  REQUEST NO. 13: Copies of an executed copy of the Trust Agreement for any
  securitized trust which has ever held Defendant’s loan, including the Loan schedules.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to the claim or defense
  in this case. Further answering, please see U.S. Bank, as Trustee’s response to Request No. 7.

  REQUEST NO. 14: Copies of an executed copy of any loan purchase agreement,
  including the Defendant’s loan, executed by any entity including the loan schedules.
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  RESPONSE: U.S. Bank, as Trustee objects to the request as irrelevant to any claim or defense
  in this case.

  REQUEST NO. 15: Any documents showing a chain of transfer of the note and mortgage and
  other mortgage documents from the Originator to the present owner of the note and mortgage.

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad, unduly
  burdensome and irrelevant to any claim or defense in this case. Further answering, please see
  documents attached as Exhibit F.

  REQUEST NO. 21: Any documents indicating the owner of the note and the mortgage on the
  following dates: December 15, 2008, July 15, 2011, February 22, 2013 and October 22, 2014.

  RESPONSE: U.S. Bank, as Trustee objects to the request as overly broad and unduly
  burdensome. Further answering, U.S. Bank, as Trustee has appended all documents
  demonstrating ownership of the Defendant’s mortgage loan as exhibits to the Amended
  Complaint.

  +REQUEST NO. 29: A copy of all documents executed in regard to the securitization of the
  Defendant’s loan.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claims or
  defenses in this case. Further answering, please see U.S. Bank, as Trustee’s response to Request
  No. 7 and all documents concerning servicing of loan appended to U.S. Bank, as Trustee’s
  Amended Complaint.

   REQUEST NO. 46: Any and all documents indicating the date and location of
  endorsement and transfer of the Defendant's note from origination to the present of the original
  note, including any allonges or endorsements to the note.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 47: Any documents indicating the owner of the note or the mortgage from
  origination to the present.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 48: Any documents indicating the sale of the note or the mortgage from
  origination to the present.
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  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

         As indicated in the above failures to respond to the Request for Production, the Plaintiff

  absolutely refused to provide any documents which it now seeks to introduce into evidence.

  These include the following Exhibits:

  October 1, 2003 Assignment and Assumption Agreement between Lehman Brothers Bank, FSB
  and Lehman Brothers Holdings, Inc., Exhibit G.

  October 1, 2003 Mortgage Loan Sale and Assignment Agreement, Exhibit H.

  October 1, 2003 Trust Agreement, Exhibit I.

  October 1 2003 Servicing Agreement, Exhibit J.

  October 1, 2003 Mortgage Loan Schedule, Exhibit K.

  April 30, 2008 American Home Mortgage Servicing, Inc. (“AHMSI”) Purchase Agreement,
  Exhibit L.

  June 30, 2009 Notices of Resignation and Appointment of Trustee, Exhibit M.

         None of these documents were produced in June, 2021 when the Plaintiff made its

  belated and objection filled response to the Requests for Production. The Defendant was not

  afforded an opportunity to review the documents and as a result the Plaintiff has thrusted on the

  Court, documents never mentioned in its response to discovery. Rule 37 requires that Plaintiff

  not be allowed to introduce documents which it previously refused to provide, claiming that they

  were irrelevant to the issues of the case.

         NO DOCUMENTS WERE PROVIDED REGARDING THE CUSTODIAN OR

  TRAVEL OF THE NOTE AND ALLONGE AND INDEXES TO THE COLLATERAL FILE

         The next series of documents which were not provided related to the location of collateral

  file documents, indicating the promissory note and allonge and other documents, which would
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  shed light on when the so-called allonge was indorsed and placed in the collateral file. This is an

  important issue, because pursuant to R.I.G.L.6A-3-204, an allonge is effective only if it is affixed

  to the executed promissory note at the time that a name is placed on an allonge. Plaintiff refused

  to produce any documents requested in Request numbers 28, 31, 32, 33, 34, 35, 36. 37, 38, 39,

  40, 41, 42, 43 and 44. These Requests asked for the custodial agreement, indicating the

   REQUEST NO. 30: Any and all documents indicating the identity of each person whom US
  Bank expects to call as an expert witness at trial along with any documents indicating the subject
  matter on which the expert is expected to testify and any and all documents indicating the
  substance of the facts and opinions to which the expert is expected to testify and a summary of
  the grounds for such an opinion.

  RESPONSE: U.S. Bank, as Trustee does not intend to call any expert witnesses at this time but
  reserves the right to amend the response as necessary.

  REQUEST NO. 28: Any documents indicating the possession and location of the
  mortgage note from the date of the Defendant’s closing to the present.

  RESPONSE: U.S. Bank, as Trustee objects to this request and irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time
  REQUEST NO. 31: Any Custodial Agreement between US Bank and the Custodian of the
  collateral file.

  RESPONSE: U.S. Bank, as Trustee objects to the request as irrelevant to any claim or defense
  to this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 32: Any custodial agreement from the origination of the mortgage loan
  executed by any custodian of the collateral file for the mortgage loan.

  RESPONSE: U.S. Bank, as Trustee objects to the request as irrelevant to any claim or defense
  to this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 33: The electronic and paper log for the collateral file, including but not limited
  to any records indicating each time that the Defendant’s note was removed from the collateral
  file and each time documents were added to the collateral file since origination.
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  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 34: Copies of any documents of the tracking of the Defendant’s loan file from
  origination to the present.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 35: All documents indicating the Custodian of Defendant’s loan
  documents from origination to the present.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 36: Any documents indicating the log in and log out record of the vault or any
  location where the Defendant’s collateral file and Promissory Note has been located from
  origination to present.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 37: Copies of all requests for release of documents from the custodian to the
  entity receiving the mortgage loan file which includes proof of mailing.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 38: Inventory and transaction logs of the mortgage loan file.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 39: Printed and electronic inventory of collateral loan file from
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  Custodian.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 40: Bar Code Chart for Defendant’s loan with definitions.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 41: All stored electronic data regarding the Bar Codes with all metadata.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 42: Complete Collateral File tracking history from Custodian.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 43: The electronic index to the custodian file.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

  REQUEST NO. 44: The paper index for the custodian file.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, U.S. Bank, as Trustee has possessed the original note at all times,
  continues to possess the original note and will provide the Defendant access to that note at any
  time.

         The documents sought in this group of requests should have been provided as Defendant

  has not been provided the custodian information or the documents in the collateral file and when
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  they were placed into the file with the indices. Plaintiff should not be rewarded. It has not

  amended its answers to interrogatories or provided the complete documents, which have missing

  exhibits. Evidence regarding the note should not be admitted without authentication regarding

  the allonge, its date of creation, the date it was signed and added to the collateral file. One

  document provided by Plaintiff is attached, which twice indicates that there were two separate

  documents provided, a note and allonge. Thus Defendant should have received these documents.

  The failure to provide these documents when combined with the failure of the Plaintiff to

  provide other documents renders the discovery practice of Plaintiff an abuse of discovery subject

  to sanctions.

         PLAINTIFF ESSENTIALLY PROVIDED NO DISCOVERY TO DEFENDANT

         The remaining document requests below were constantly objected to by Plaintiff with it

  failing to provide any documents relating to the amount due on the loan and basically anything

  requested by Defendant. These are indicated below:


  REQUEST NO. 9: Produce all letters, statements and documents sent to Plaintiff by Ocwen or
  any other loan servicer acting on behalf of US Bank.

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad, unduly
  burdensome and irrelevant to the claims and defenses of this case. Further answering, please see
  documents attached as Exhibit D.

  REQUEST NO. 10: Produce all letters, statements and documents contained in the account file
  of Defendant or imaged by Ocwen, any servicers or subservicers of this mortgage from the
  inception of this account to the present date. If none, state "none."

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad unduly
  burdensome and irrelevant to the claims and defenses of this case. Further answering, please see
  U.S. Bank, as Trustee’s response to Request No. 9.


  REQUEST NO. 12: Produce all copies of property inspection reports, appraisals, BPOS and
  reports done on the property of Defendant. If none, state "none".
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  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad, unduly
  burdensome and irrelevant to the claims and defenses of this case. Further answering, please see
  documents attached as Exhibit E.


  REQUEST NO. 22: Any default letter sent to the Defendant pursuant to the terms of the
  mortgage.

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad and unduly
  burdensome. Notwithstanding and without waiving objection, attached as Exhibit G please find
  November 2014 Notice of Default sent to Defendant.

  REQUEST NO. 23: Any acceleration letter sent to the Defendant pursuant to the terms of the
  mortgage.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant and on grounds that the
  request assumes an acceleration letter is required under the terms of the mortgage. Further
  answering, attached as Exhibit H please find September 16, 2016 Notice of Acceleration.

  REQUEST NO. 24: Any Notice of foreclosure sale sent to the Defendant pursuant to the terms
  of the mortgage.

  RESPONSE: U.S. Bank, as Trustee objects to this request as overly broad and unduly
  burdensome. Notwithstanding that objection, Attached as Exhibit I please find September 23,
  2016 notice of foreclosure sale.

  REQUEST NO. 25: Any notice sent to the Defendant pursuant to RIGL 34-27-3.1.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Notwithstanding, this objection U.S. Bank, as Trustee is attempting to locate the
  referenced documents and will provide at that time.

  REQUEST NO. 26: Any and all documents that US Bank used to answer any
  interrogatories or the request for admissions in this case.

  RESPONSE: All documents U.S. Bank, as Trustee relied upon to answer interrogatories and
  requests for admission are attached to this discovery response and/or appended as exhibits to
  U.S. Bank, as Trustee’s Amended Complaint.

  REQUEST NO. 27: Any documents upon which US Bank authorized Ocwen to send the
  Defendant a default letter.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claims or
  defenses in this case. Further answering, please see U.S. Bank, as Trustee’s response to Request
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  No. 7 and all documents concerning servicing of loan appended to U.S. Bank, as Trustee’s
  Amended Complaint.

  .

  REQUEST NO. 45: Any and all documents upon which you base any denials of any of
  Defendant’s affirmative defenses.

  RESPONSE: Please see all documents appended to U.S. Bank, as Trustee’s Amended
  Complaint and all documents produced in response to Defendant’s Interrogatories and these
  Requests for Production.


  REQUEST NO. 50: An exact reproduction of the life of loan mortgage transactional history for
  this loan on the contractual system of record used by the servicer from origination of the loan to
  the date of this letter. For purposes of identification, the life of loan transactional history means
  any software program or system by which the servicer records the current mortgage balance,
  the receipt of all payments, the assessment of any late fees or charges, and the recording of any
  corporate advances for any fees or charges including but not limited to property inspection fees,
  broker price opinion fees, legal fees, escrow fees, processing fees, technology fees, or any other
  collateral charge. Also, to the extent this life of loan transactional history includes in numeric or
  alphanumeric codes, please attach a complete list of all such codes and state in plain English a
  short description for each such code.

  RESPONSE: U.S. Bank, as Trustee objects to this request as irrelevant to any claim or defense
  in this case. Further answering, please see document attached as Exhibit J.

         These refusals to produce documents should be sanctioned by either dismissal of this case

  or at the least a refusal to allow evidence not provided previously to be introduced. A review of a

  recent decision of the First Circuit indicates the standard of review. In Zamierollo-Rheinfeldt v.

  Ingersol-Rand de PR, 999 F 3d 37 (First Cir., 2021) the      the Court analyzed sanctions for

  discovery abuse and reversed exclusion of evidence which the proponent sought to use to defend

  against Summary Judgment. The Court listed the factors:

  Federal Rule of Civil Procedure 26 requires a party to disclose all documents that it may use to

  support its claims or defenses, and all evidence that it may present at trial, unless their purpose is

  "solely for impeachment." Fed. R. Civ. P. 47*47 26(a)(1)(A)(ii), (a)(3)(A). Further, the party

  must also "supplement or correct its disclosure or response [to an interrogatory, request for
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  production, or request for admission]. . . in a timely manner if the party learns that in some

  material respect the disclosure or response is incomplete or incorrect." Fed. R. Civ. P.

  26(e)(1)(A).


  Failure to properly disclose triggers Rule 37(c)(1): incomplete or late disclosures may preclude a
  party from using "that information . . . to supply evidence on a motion, at a hearing, or at a trial,
  unless the failure was substantially justified or is harmless." Fed. R. Civ. P. 37(c)(1). "[I]n the
  absence of harm to a party, a district court may not invoke the severe exclusionary penalty
  provided for by Rule 37(c)(1)." Cruz-Vázquez v. Mennonite Gen. Hosp., Inc., 613 F.3d 54, 58
  n.1 (1st Cir. 2010). Furthermore, even when there is harm to a party, "[p]reclusion is not strictly
  required." Lawes v. CSA Architects & Eng'rs LLP, 963 F.3d 72, 91 (1st Cir. 2020). Instead,
  "[w]hen noncompliance occurs, the ordering court should consider the totality of events and then
  choose from the broad universe of available sanctions in an effort to fit the punishment to the
  severity and circumstances of the violation." Id. (quoting Young v. Gordon, 330 F.3d 76, 81 (1st
  Cir. 2003)); see also Esposito, 590 F.3d at 78 ("[D]istrict courts have broad discretion in meting
  out [discovery] sanctions" and "may choose a less severe sanction." (first alteration in original)
  (citations omitted)).

  When reviewing a district court's decision precluding evidence as a sanction, we consider an
  array of factors, including: the history of the litigation; the proponent's need for the precluded
  evidence; the justification (or lack of one) for the late disclosure; the opponent-party's ability to
  overcome the adverse effects of the late disclosure (surprise and prejudice); and the late
  disclosure's impact on the district court's docket. Esposito, 590 F.3d at 78 (citing Macaulay v.
  Anas, 321 F.3d 45, 51 (1st Cir. 2003)). Because "district courts are generally in a better position
  to determine the propriety of a particular sanction," we review the district court's choice for
  abuse of discretion. Id. An "[a]buse of discretion `occurs when a material factor deserving
  significant weight is ignored, when an improper factor is relied upon, or when all proper and no
  improper factors are assessed, but the court makes a serious mistake in weighing them.'"

         The Court in Zampierollo found that the proponent had met the standard for the escape

  hatch to avoid preclusion of the evidence by showing that the omission was harmless or

  substantially justified. There was also a suggestion that the evidence not provided was used for

  impeachment only, unlike this case. Here there is no justification for the omission of every

  document which Plaintiff sought to introduce. All it referenced were the exhibits to the

  complaint and a pooling and servicing agreement. There is no basis for this refusal to comply

  with discovery, especially documents which it seeks to admit into evidence.
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                                CONCLUSION


         Plaintiff has ignored its discovery obligations, did not produce documents or answer

  interrogatories as to which it now seeks to present evidence. Its failure to respond in any manner

  precludes this evidence from being admitted into evidence. Aside from the foundational issues

  and hearsay problems with the securitization documents, which will be addressed in another

  motion, there is no basis for these documents to be admitted into evidence. The standard for

  imposing discovery sanctions has been met.


                                                       Masoud Shakoori
                                                       By his Attorney
  March 10, 2022                                       /s/ John B. Ennis
                                                       John B. Ennis, Esq. #2135
                                                       1200 Reservoir Avenue
                                                       Cranston RI 02920
                                                       Jbelaw75@gmail.com




                                CERTIFICATE OF SERVICE


  I certify that I served the attorney for the Plaintiff on March 10, 2022 by electronic
  filing.
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  /s/ John B. Ennis
